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                           THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 ROGER MATHEWS,                                        )
                                                       )
                       Plaintiffs,                     )
                                                       )
 v.                                                    )    Case No. 17-1175-EFM
                                                       )
BUTLER COMMUNITY COLLEGE,                              )
                                                       )
                       Defendant.                      )
                                                       )


                                        MINUTE ORDER

 BY THE DIRECTION OF THE HONORABLE ERIC F. MELGREN, UNITED STATES

 DISTRICT COURT JUDGE:

       The Court conducted a jury trial in this matter and the jury was charged on January 7,

2020. Deliberation began on January 10, 2020 and the Court orders that lunch be provided by the

Clerk to the jury members during their deliberation.




                                                       ERIC F. MELGREN
                                                       UNITED STATES DISTRICT JUDGE




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